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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                    Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

         Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

                 DEFENDANT’S REPLY TO RESPONSE TO DEFENDANT’S
                  MOTION FOR JUDGMENT AS A MATTER OF LAW AND
                        SUPPLEMENTAL BRIEF IN SUPPORT 1

         Defendant, Rockhill Insurance Company ("Defendant"), by and through its

   undersigned counsel and pursuant to the Federal Rules of Civil Procedure and the

   Local Rules of the United States District Court for the Southern District of Florida,

   hereby files its Motion to Strike and Defendant’s Reply to the Response to Defendant’s

   Motion for Judgment as a Matter of Law and Supplemental Brief in Support Thereof filed

   by Plaintiffs/Counter-Defendants, AM GRAND COURT LAKES LLC and AM 280

   SIERRA DRIVE LLC (collectively, “Plaintiffs”), stating as follows:

   I.    RELEVANT BACKGROUND

         1.      During trial in the above-referenced matter, at the close of Plaintiffs’ case-

   in-chief, Defendant moved for entry of Judgment as a Matter of Law on all claims, filing




         1
          Defendant will address Plaintiffs’ out of turn and untimely Motion for Directed Verdict in a
         separate motion.
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   a written Motion for Judgment as a Matter of Law (the “Motion”) on November 20, 2019 2

   [D.E. #186].

          2.      Pursuant to Local Rule 7.1(c) Plaintiffs, as the parties opposing the

   Motion, were required to “serve an opposing memorandum of law no later than fourteen

   (14) days after service of the motion” and “[f]ailure to do so may be deemed sufficient

   cause for granting the motion by default”. See Local Rule 7.1(c).

          3.      Accordingly, Plaintiffs’ response in opposition to Defendant’s Motion was

   due on or before Wednesday, December 4, 2019.

          4.      On Monday, December 9, 2019, five (5) days after the deadline, and

   without seeking or receiving an enlargement of time,                Plaintiffs filed their opposing

   memorandum (the “Response”) as part of their own “Motion for Directed Verdict and

   Entry of Final Judgment, and Response to the Defendant’s Motion for Directed Verdict“ 3

   [D.E. #208] (the “Response”).

          5.      Although Defendant respectfully submits that Plaintiffs’ response should

   be stricken as an out-of-time filing, Defendant substantively (and timely) replies to the

   Response as follows:

   II.    REPLY TO PLAINTIFFS’ RESPONSE

          6.      In their Response, Plaintiffs argue that they were only required to prove,

   and did so prove by the greater weight of the evidence, that the physical damages to

   the subject property arose during the Policy period, citing to Phoenix Insurance Co. v.

   2
     Defendant subsequently renewed its Motion for Judgment as a Matter of Law, ore tenus, at the
   close of all evidence, prior to submission of the case to the jury for deliberations.
   3
     Plaintiff’s Response incorrectly states the title of Defendant’s Motion and incorrectly identifies it
   as being docketed under “[D.E. #198]”. See [D.E. #208]. In actuality, D.E. #198 corresponds
   to this Court’s November 25, 2019 Paperless Order requiring supplementation, if any, to
   pending motions for judgment as a matter of law on or before December 9, 2019. See [D.E.
   #198]

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   Branch, 234 So.2d 396 (Fla. 4th DCA 1970) and Egan v. Washington General

   Insurance Corp., 240 So.2d 875 (Fla. 4th DCA 1970), for the general proposition that

   once an insured establishes a loss apparently within the terms of an “‘all risks” policy,

   the burden shifts to the insurer to prove that the loss arose from a cause which is

   excepted. See [D.E. #208], pp.2,9. Plaintiffs also cite to B & S Assocs., Inc. v. Indem.

   Cas. & Prop., Ltd., 641 So. 2d 436, 437 (Fla. 4th DCA 1994) for the proposition that

   “[c]overage should be extended under an all-risks insurance policy, even when the

   cause of the damage is unknown.” See [D.E. #208] pp.2,9.

          7.     However, the aforesaid cases involve insurance claims for which coverage

   was altogether denied by the insurer, thus the insured’s burden to quantify and

   prove its monetary damages was not in play [emphasis added]. As such, these

   cases are inapposite to the case at bar, where Plaintiffs’ claim was not denied; rather,

   Defendant determined that Plaintiffs’ covered damages did not exceed the Policy

   deductible. In this case, Plaintiffs needed to establish, by the greater weight of the

   evidence, the amount of money it would take to fairly and adequately compensate

   Plaintiffs for their damages.   As more particularly argued in Defendant’s Motion [D.E.

   #186] and Supplementary Brief [D.E. #207], Plaintiffs have not met this burden.

          8.     Plaintiffs also cite extensively to the case of Fayad v. Clarendon National

   Insurance Company, 899 So.2d 1082 (Fla. 2005) in their Response. See [D.E. #208]

   pp.9-11. In Fayad, a homeowners’ insurer sought a declaratory judgment that its policy

   did not cover property damage resulting from a nearby blasting. The trial court entered

   summary judgment in favor of insurer, the insureds appealed, the Third District Court of

   Appeals affirmed, and the Florida Supreme Court ultimately quashed the decision and

   remanded the case.      However, like Phoenix, Egan and B&S, the Fayad case also

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   involved a pure coverage question, and did not involve the calculation of damages

   [emphasis added]. Accordingly, the Fayad case also does little or nothing to advance

   Plaintiffs’ opposition to Defendant’s Motion.

          9.      Contrary to Plaintiffs’ arguments, it was not enough for Plaintiffs to merely

   establish a loss within the terms of the Policy in order to shift the burden to Defendant.

   Rather, it was incumbent on Plaintiffs to: (i) prove that they complied with the Policy; (ii)

   prove that Defendant breached the Policy; (iii) prove that they suffered covered

   damages as a result of the breach; and, (iv) establish the dollar amount of damages

   resulting from direct physical loss to the property [emphasis added].

   In fact, the Court gave the following instructions to the jury [D.E. #200]:

         To recover damages from Rockhill Insurance for breach of contract, AM Grand
         and AM 280 must prove the following:

          1. AM Grand, AM 280, and Rockhill Insurance entered into a contract. AM
          Grand, AM 280, and Rockhill have stipulated or agreed that the insurance
          policy entered into by Rockhill, AM Grand, and AM 280 satisfies this
          requirement;

          2. That AM Grand and AM 280 did all of the essential things the Policy
          required; and

          3. Rockhill Insurance breached the contract by failing to pay the amounts
          of money to which AM Grand and AM 280 were due under the Policy on
          their claim for insurance benefits.


               ******************************************************************


          If your verdict is for AM Grand and AM 280, you must also consider the
          matter of damages. You should award AM Grand and AM 280 an
          amount of money that the greater weight of the evidence shows will
          fairly and adequately compensate AM Grand and AM 280 for their
          damages. Compensatory damages is that amount of money which
          will put AM Grand and AM 280 in as good a position as they would
          have been if Rockhill had not breached the insurance policy and
          which naturally result from the breach.


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   [emphasis added].

          10.    When viewed in light of this instruction, Plaintiffs clearly failed to satisfy

   their burden of proof, as they did not prove every essential part of their claim by the

   greater weight of the evidence, to wit: that Defendant breached the insurance contract

   and as a result Plaintiffs suffered damages.

          11.    As discussed in Defendant’s Motion [D.E. #186] and Supplementary Brief

   [D.E. #207], in an action for breach of an insurance contract, judgment as a matter of

   law in favor of an insurer is proper where the insured fails to present a legally sufficient

   evidentiary basis that the insurance company breached the insurance contract. Schmidt

   v. Allstate Insurance Company, 2008 WL 3287133 (D. Hawaii 2008). Likewise, a

   Plaintiff’s failure to present reliable evidence of the amount of damages can also

   support entry of judgment as a matter of law against it. Id. Hence, an unsubstantiated

   estimate on the value of damages constitutes grounds for entry of a directed verdict

   against a party. Id.   An insured must prove not only that its alleged damages are

   covered, but also that its damages are at least greater than the deductible.

   Appalachian Ins. Co. v. United Postal Savings Association, 422 So. 2d 332 (Fla. 3d

   DCA 1982) [emphasis added].

          12.    Plaintiffs in the instant case have failed to present sufficient evidence to

   prove the breach and damage elements of the claim, and no jury reasonably could have

   reached a verdict for Plaintiffs as to these issues, warranting judgment as a matter of

   law. See Cleveland v. Home Shopping Network, Inc., 369 F.3d 1189, 1192 (11th

   Cir.2004). See also, Celotex Corp. v. Catrett, 477 U.S. 317, 323, 106 S.Ct. 2548, 2552,

   91 L.Ed.2d 265 (1986)(“The moving party is entitled to a judgment as a matter of law



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   [where] the nonmoving party has failed to make a sufficient showing on an essential

   element of her case with respect to which she has the burden of proof”); Collado v.

   UPS, 419 F.3d 1143, 1149 (11th Cir.2005)(“Judgment as a matter of law is appropriate

   “when there is insufficient evidence to prove an element of the claim, which means that

   no jury reasonably could have reached a verdict for the plaintiff on that claim”); Bogle v.

   Orange County Bd. of County Comm'rs, 162 F.3d 653, 659 (11th Cir.1998)(“[I]n order to

   survive a defendant's motion for judgment as a matter of law... the plaintiff must present

   evidence that would permit a reasonable jury to find in the plaintiff's favor on each and

   every element of the claim”).

          III.   CONCLUSION

          13.    In the case sub judice, Plaintiffs’ evidence did not rise to the level which

   would necessitate submitting the matter to the jury. Conversely, the evidence is so

   weighted in favor of Defendant that Defendant must prevail as a matter of law. The facts

   and inferences point overwhelmingly in favor of Defendant, such that reasonable people

   would not have arrived at a verdict in favor of Plaintiffs. Plaintiffs have failed to present

   reliable evidence on the amount of damages presented and have shown no legally

   sufficient evidentiary basis for a reasonable jury to find for them on any material element

   of their cause of action. Plaintiffs’ unsubstantiated estimate on the value of damages

   constitutes grounds for entry of a judgment as a matter of law against them, and

   Plaintiffs’ Response raises no genuine issue which would preclude the relief Defendant

   is seeking herein. Accordingly, Defendant’s Motion for Judgment as a Matter of Law

   [D.E. #186] should be granted.

          WHEREFORE, Defendant, ROCKHILL INSURANCE COMPANY, respectfully

   requests that the Court grant its Motion for Judgment as a Matter of Law and set aside

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   the jury’s November 22, 2019 verdict and enter Judgment in its favor and against

   Plaintiffs, AM GRAND COURT LAKES LLC & AM 280 SIERRA DRIVE LLC, and

   provide such further relief deemed just and appropriate under the circumstances.

                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 16th, 2019, I electronically filed the foregoing

   document with the clerk of the Court using CM/ECF. I also certify that the foregoing

   document is being served via email this day to: Font & Nelson, PLLC, 200 S. Andrews

   Avenue,     Suite    501,   Fort     Lauderdale,   Florida   33301     (jfont@fontnelson.com;

   afriedman@fontnelson.com;            bfischer@fontnelson.com;        fnelson@fontnelson.com;

   gvega@fontnelson.com;               jproffitt@fontnelson.com;         jwilds@fontnelson.com;

   nkronen@fontnelson.com;            pleadings@fontnelson.com); either via transmission of

   Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

   for those counsel or parties who are not authorized to receive electronically Notices of

   Electronic filing.

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